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                                           I.

        Plaintiff is a resident of Huntington Beach. Compl. ¶ 9. Plaintiff and Carr
 ran for City Council in 2018. Id. Carr won a seat; Plaintiff did not. Id. Soon after
 the election, Carr appointed Plaintiff as a member of the CPAB. Id. ¶ 11. Carr
 “had final policymaking authority on the decision to hire and fire” Plaintiff. Id. ¶
 21. Plaintiff accepted the appointment to “participate in local government [] and
 gain experience and name recognition locally as a springboard to further a career in
 politics and within Huntington Beach . . . .” Id.

        The CPAB is a part of city government. Compl. ¶ 21. It consists of seven
 members, each of whom is appointed by one city council member. See Huntington
 Beach Municipal Code (H.B.M.C.) § 2.97.020. 1 The members of the CPAB have
 “differing political views [and] affiliations.” Id. ¶ 12. The CPAB’s stated purpose
 is:

       [T]o provide citizen participation and coordination in the City’s
       planning processes for the Community Development Block Grant
       Program administered by the Federal Department of Housing and
       Urban Development (HUD). The board shall assess the needs of the
       community, particularly that of low and moderate income households,
       evaluate and prioritize projects pertaining to the required plans and
       provide recommendations to City Council on such plans and projects.
       The board may hold public hearings to obtain citizen input on
       community needs, plans or proposals. The board shall provide
       specific recommendations regarding the projects reviewed by the
       board to the City Council.

 H.B.M.C. § 2.97.030.

        On April 27, 2019, Plaintiff attended a rally in support of immigrant rights.
 Compl. ¶ 13. After the rally, Carr called Plaintiff to inform her that Carr had seen
 a photograph of Plaintiff at the rally “standing near individuals dressed in black
 that Carr identified as ‘Antifa’ members.” Id. ¶ 14. Carr “instructed” Plaintiff to
 denounce Antifa. Id. ¶ 15. According to Plaintiff, she “reasonably understood”
 that her position on the CPAB depended upon her doing so. Id. Plaintiff then
 wrote a social media post stating that “she supports law enforcement officers, she

 1
  Defendant filed an unopposed request for judicial notice of Chapter 2.97 of the
 Huntington Beach Municipal Code. Dkt. No. 13. The request is granted. See
 Tollis, Inc. v. Cty. of San Diego, 505 F.3d 935, 938 n.1 (9th Cir. 2007) (“Municipal
 ordinances are proper subjects for judicial notice”).
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 also supports immigrants’ rights, she was not aware that people identifying as
 Antifa would be present at the rally, and she did not engage with people identified
 as Antifa.” Id. ¶ 15.

        Carr told Plaintiff that her social media post was “not enough” because
 Plaintiff did not “denounce” Antifa. Id. ¶ 16. Carr asked Plaintiff to resign from
 the CPAB, which Plaintiff did not want to do. Id. The next day, Plaintiff
 discovered through a social media post that Carr had “removed” her from the
 CPAB. Id. ¶ 17. Separately, Carr wrote a social media post stating that “[t]hose
 that do not immediately denounce hateful, violent groups do not share my values
 and will not be a part of my team.” Id. ¶ 18.

       Plaintiff then sued Defendant City of Huntington Beach under 42 U.S.C. §
 1983, alleging Carr violated the First Amendment by both (i) “forcing [Plaintiff] to
 make a public statement about her attendance at the April 27 Rally under threat of
 losing her position on the . . . CPAB” and (ii) “firing [Plaintiff] from her position
 on the . . . CPAB for attending the rally, for not denouncing Antifa, and for
 associating with people Carr identified as ‘Antifa.’” Id. ¶ 19.

                                           II.

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a
 claim upon which relief can be granted. A plaintiff must state “enough facts to
 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
 U.S. 544, 570 (2007). A claim has “facial plausibility” if the plaintiff pleads facts
 that “allow[] the court to draw the reasonable inference that the defendant is liable
 for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The
 complaint in this case asserts two First Amendment claims—one for retaliation and
 the other for compelled speech. Neither states a claim for relief under Ninth
 Circuit law. See Blair v. Bethel Sch. Dist., 608 F.3d 540, 543 (9th Cir. 2010).

                                           A.

        Plaintiff alleges that Carr unlawfully removed Plaintiff from the CPAB “in
 retaliation for Plaintiff’s attendance at the April 27 Rally and the appearance of her
 association with people identified as ‘Antifa’ at that rally.” Compl. ¶ 31.

        To state a claim for First Amendment retaliation under § 1983, Plaintiff must
 establish that “(1) [s]he engaged in constitutionally protected activity; (2) as a
 result, [s]he was subjected to adverse action by the defendant that would chill a
 person of ordinary firmness from continuing to engage in the protected activity;
 and (3) there was a substantial causal relationship between the constitutionally
                                           3
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 protected activity and the adverse action.” Blair, 608 F.3d at 543. Defendant does
 not dispute that Plaintiff engaged in constitutionally protected activity (attending
 the rally and appearing near purported Antifa members) or that Carr, a state actor,
 removed Plaintiff from the CPAB for reasons other than Plaintiff’s appearance at
 the rally and subsequent failure to denounce Antifa. Opp. 4. “Were this a typical
 First Amendment retaliation case, [this Court] would be left to evaluate only
 whether [Carr’s] action would chill a person of ordinary firmness from continuing
 to speak out.” Blair, 608 F.3d at 543. The issue here is whether this is a typical
 case as defined by the Ninth Circuit in Blair.

        In Blair, the plaintiff, a publicly elected member of defendant school board,
 was selected as the board’s vice president by his fellow board members. Blair, 608
 F.3d at 542. Those fellow board members subsequently removed him from his
 executive position as vice president for publicly criticizing the school’s
 superintendent, though the plaintiff remained a board member. Id. at 544. The
 plaintiff sued the school district and others for unlawful First Amendment
 retaliation in violation of 42 U.S.C. § 1983. Id. at 543. The Ninth Circuit affirmed
 summary judgment in favor of the defendants, holding that the plaintiff’s removal
 from his executive position did not violate the First Amendment right to free
 speech in this political context. Id. at 543-44. The court reasoned that the plaintiff
 did not present “a typical First Amendment retaliation case” because “the ‘adverse
 action’ [he] is challenging was taken by his peers in the political arena,” and his
 peers were entitled to have “a vice president who shared their views.” Id. The
 Ninth Circuit further explained that three facts distinguished Blair from the “the
 ordinary retaliation case.” Id. at 544-45. Each is worth considering in exploring
 the reach of the Blair holding.

        First, the court noted that the adverse action constituted “de minimis
 deprivations of benefits and privileges on account of one’s speech” as contrasted
 with the loss of a government job by the “prototypical plaintiff” in Pickering v. Bd.
 of Educ. of Township High Sch. Dist., 391 U.S. 563, 564 (1968)—a teacher fired
 for publicly criticizing the school board. Blair, 608 F.3d at 544. In noting this
 contrast, the court also observed that the removal in Blair occurred “[t]hrough the
 ordinary functioning of the democratic process . . . by the very people who elected
 him to the position in the first place.” 608 F.3d at 544.

         Relying on a footnote in Blair, Plaintiff attempts to distinguish that case by
 arguing that the adverse action there was only the “minor indignity” of losing a
 title (vice president) rather than his actual position on the school board (which he
 retained). Plaintiff argues that the outcome should be different here because she
 was in fact removed from the CPAB. Opp. 4-5. Plaintiff misses the point of the
 Blair footnote: the Ninth Circuit distinguished between titular loss and total
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 removal because the board members could remove the plaintiff from the executive
 position they had selected for him but could not deprive him of his seat on the
 board for which he was popularly elected. To this point, the Ninth Circuit stated:
 “This would be a different case had Blair’s peers somehow managed to vote him
 off the Board or deprive him of authority he enjoyed by virtue of his popular
 election—but they didn’t.” 608 F.3d at 545 n.4. 2

        Nor can Blair be read to be limited to cases involving a loss of title. As a
 factual matter, the plaintiff in that case was stripped of his executive position on
 the board. Blair v. Bethel Sch. Dist., No. C08-5181FDB, 2008 WL 4740159, at *1
 (W.D. Wash. Oct. 24, 2008) (noting that the vice president was responsible for
 performing the duties of the president in his or her absence), aff’d, 608 F.3d 540
 (9th Cir. 2010). As a legal matter, the Ninth Circuit has long rejected as
 constitutionally consequential any distinction between a minor and major loss
 resulting from retaliation. See Hyland v. Wonder, 972 F.2d 1129, 1135 (9th Cir.
 1992) (finding “the opportunity to serve as a volunteer” and the loss of fully paid
 employment to be “equally egregious in the eyes of the Constitution”); see also id.
 (citing authority for the proposition that the government violates a person’s right to
 free speech by imposing a fine of “a penny” for party affiliation). To read Blair so
 narrowly not only would cause it to run afoul of an established line of Ninth
 Circuit authority but also would create an intractable problem of judicial line
 drawing in determining the magnitude of any loss. A subsequent Ninth Circuit
 panel declined to interpret Blair this way. See Chinn v. City of Spokane, 429 F.
 App’x 673, 675 (9th Cir. 2011) (relying on Blair to reject a retaliation claim
 brought by a plaintiff whose appointment to a local judgeship—a position that
 cannot be deemed merely “titular”—was revoked because he protested a zoning
 change as he had a First Amendment right to do). 3


 2
   That the Ninth Circuit intended this more limited point is clear from the case
 upon which it relied in making it. Blair, 608 F.3d at 545 n.4 (citing Bond v. Floyd,
 385 U.S. 116, 118 (1966). As described in Blair, the Georgia legislators in Bond
 refused to seat a popularly elected representative in retaliation “on the trumped-up
 ground he could not, in good faith, take the requisite oath of office to support the
 Constitution,” which had the “deleterious [effect] . . . of nullifying a popular vote.”
 Id. Neither Blair nor this case involves the overturning of the popular will.
 3
  Other circuits have reached similar conclusions. See, e.g., Rash-Aldridge v.
 Ramirez, 96 F.3d 117, 118 (5th Cir. 1996) (rejecting retaliation claim brought by a
 political official who was removed from his appointed position as a member of a
 metropolitan planning organization); Werkheiser v. Pocono Twp. Bd. of
 Supervisors, 704 F. App’x 156, 157 (3d Cir. 2017) (rejecting retaliation claim
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        Second, Blair noted that the political context distinguished it from the
 ordinary retaliation case because “more is fair in electoral politics than in other
 contexts.” 608 F.3d at 544. That is, political officials are expected to act
 politically, which includes voting against candidates who express differing views,
 as this is part of “the regular functioning of the political process.” Id. at 544-45.
 This principle applies here. See Chinn, 429 F. App’x at 675 (finding that the
 failure to “cast on-the-record votes against [the plaintiff’s] confirmation” did not
 take the case outside the scope of the holding in Blair). While Carr did not vote to
 remove Plaintiff from the CPAB, the regular political process did not require her to
 do so. Carr was politically entitled, as a prerogative of her position as a council
 member, to appoint the person who would best represent her views and interests.
 Compl. 21. To that end, “Carr had final policymaking authority on the decision to
 hire and fire [Plaintiff].” Id. Under Blair, Carr was permitted to consider the
 political ramifications not only when she decided to appoint Plaintiff but also when
 she later elected to remove her from the public position. Blair, 608 F.3d at 544-45
 (noting that “the First Amendment does not succor casualties of the regular
 functioning of the political process”); see also Werkheiser, 704 F. App’x at 159
 (concluding that “a job . . . gained through politics may be lost the same way”).

        Third, the Ninth Circuit found it “significant” in Blair that the First
 Amendment rights of the plaintiff’s fellow board members also were at stake. 608
 F.3d at 545. The fellow board members had voted to place the plaintiff in the
 executive position; and their vote, to some extent, attached them politically to the
 plaintiff. Those voting members had the right to “communicate[] to [the plaintiff]
 and to the public” their disapproval of the plaintiff’s views, and the board had a
 legitimate interest in seeking “to distance itself” from the plaintiff’s views. Id.
 The removal of the plaintiff from the position to which the disapproving board
 members had appointed him constituted their public expression of disapproval and
 disassociation.

        The existence of competing First Amendment rights in the context of
 political appointees who serve in a public role in the political arena is a particularly
 weighty consideration here. Carr was solely responsible for selecting Plaintiff to
 the CPAB. And by accepting the appointment, Plaintiff became a publicly visible
 figure in the local community. Plaintiff recognized this fact and welcomed the
 appointment “because it presented her with an opportunity to help her fellow
 Huntington Beach residents, participate in local government, and gain experience
 and name recognition locally as a springboard to further a career in politics.”

 brought by a political official who was removed from his appointed position to
 oversee the municipality’s infrastructure).
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 Compl. ¶ 11. While Plaintiff’s actions as a public figure directly reflected upon
 her, they also could be seen as a reflection upon Carr. Carr’s selection of Plaintiff
 to the CPAB was a political act, and, like all political acts, subject to political
 attack. As a publicly elected official, Carr was accountable to the public for her
 political decisions, including her appointments. Of course, Plaintiff had the right
 to speak out on issues of concern to her and to freely associate within the full
 boundaries of the law. But Plaintiff also had to realize that, by accepting the
 appointment, she was no longer the only person politically accountable for her
 public actions. The political act of appointment had the political consequence of
 linking the appointor and appointee. By the appointment process, Plaintiff could
 therefore be viewed as a political extension of the person who had the sole
 authority to appoint her. 4

        In short, when Plaintiff decided to engage in public protest, she was
 expressing her views and showing support for a cause in association with other
 like-minded individuals. In doing so, Plaintiff unquestionably was exercising her
 constitutional rights. However, such exercise “does not . . . immunize [her] from
 the political fallout” of her actions. Blair, 608 F.3d at 543. Contrary to the thrust
 of Plaintiff’s lawsuit, Carr was not politically powerless to disassociate herself
 from Plaintiff’s public actions through a process that authorized appointment and
 removal in Carr’s sole discretion. See Chinn, 429 F. App’x at 675 (“To accept [the
 plaintiff’s] argument would be to hold that the First Amendment prohibits elected
 officials from choosing not to confirm, or appoint, judicial officials whose speech
 or views they don’t embrace.”). 5 Although this conclusion might leave Plaintiff
 without a legal remedy, not all First Amendment fights—especially political
 ones—must occur in the courtroom.


 4
  The principles articulated in Blair preclude Plaintiff from relying on authority
 applicable in other contexts. See, e.g., Pickering, 391 U.S. at 568 (applying a
 balancing test in the context of government retaliation against unelected public
 employees); Branti v. Finkel, 445 U.S. 507, 518 (1980) (concluding that party
 affiliation may be a basis for discharge only if “the hiring authority can
 demonstrate that party affiliation is an appropriate requirement for the effective
 performance of the public office”).
 5
   Chinn is not distinguishable, as Plaintiff suggests, because Plaintiff had served in
 the appointed position before being removed. Like Blair, Chinn is not about such
 distinctions. Instead, they focus on the extent to which the judiciary is prepared to
 intervene in a political dispute that implicates competing constitutional interests
 that arise in the course of “the regular functioning of the political process.” Blair,
 608 F.3d at 546; Chinn, 429 F. App’x at 675.
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                                            B.

       Plaintiff’s second § 1983 First Amendment claim alleges that Carr
 “forc[ed]” (Compl. ¶ 19) and “intentionally coerced” (Id. ¶ 24) Plaintiff to make a
 public statement about her attendance at the April 27 rally “under threat of losing
 her position on . . . CPAB” (Id. ¶ 19).

        The U.S. Supreme Court has long recognized that the freedom of speech
 protected by the First Amendment also extends protection against compelled
 speech. See Wooley v. Maynard, 430 U.S. 705, 714 (1977) (noting that “the right
 of freedom of thought protected by the First Amendment against state action
 includes both the right to speak freely and the right to refrain from speaking at
 all”). The extent of protection depends on the context. Nat’l Inst. of Fam. & Life
 Advocs. v. Becerra, 138 S. Ct. 2361, 2372 (2018) (“This Court’s precedents have
 applied a lower level of scrutiny to laws that compel disclosures in certain
 contexts.”).

         Plaintiff has not demonstrated that the Blair analysis is inapplicable to her
 claim of compelled speech. Carr presented Plaintiff with a choice: provide a
 statement denouncing Antifa or resign. From a First Amendment standpoint, the
 option of a compelled statement or forced resignation was no worse than no option
 at all (i.e., forced resignation). Or, at least, Plaintiff has not provided any reason to
 suggest that being presented with an option in her circumstances changes the
 constitutional calculus. Nor would it appear to have that effect. The principles
 applied in Blair do not seem to rest on any distinction between restricted and
 compelled speech. It is the context of appointing an individual to a political post
 for which the appointing politician is publicly accountable that makes the
 difference.

                                                 III.

           An application of binding Ninth Circuit law to the allegations in this case
 requires dismissal. No amendment of the pleading can change this conclusion.
 Accordingly, the motion to dismiss is GRANTED with prejudice.




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